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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                :       Hon.    Stanley R.      Chesler

               V.                               Crim.    No,   09-863     (SRC)

MICHAEL C.      SCIARRA,    et al.      :       ORDER


               This matter having come before the Court on the joint

application of Paul J.          Fishman,       United States Attorney for the

District of New Jersey          (by Leslie Faye Schwartz,               Assistant U.S.

Attorney),      and defendants Michael C.              Sciarra    (by Edmund DeNoia,

Esq.),    Peter Ventricelli       (by Arthur Abrams,             Esq.),   Michael A.

Sciarra    (by Anthony J.       Pope,       Esq.),   and Mark Ventricelli           (by

Gerald D.    Miller,    Esq.)    for an order declaring this matter to be

a complex case pursuant to Title 18,                   United States Code,          Section

3161(h) (7) (B) (ii);      and the defendants being aware that absent

such a finding that they would have a right to be right to be

tried within 70 days of the date of their first appearance before

a judicial officer in this district in connection with this

matter pursuant to Title 18 of the United States Code,                            Section

3161(c) (1),    and the charges being the result of a lengthy

investigation and the defendants needing sufficient time to

review extensive discovery and to investigate the charges and

file motions in this case;           and Paul J.        Fishman,    United States

Attorney for the District of New Jersey                   (Leslie Faye Schwartz,

Assistant U.S.      Attorney,    appearing)          having concurred in the

assertion that this matter is complex as defined in the statute;
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            8.    The grant of a continuance will enable counsel for

the defendants to adequately review the discovery,                 prepare

motions,   and proceed with trial

            9.     Pursuant to Title 18,      United States Code,         Section

3161(h) (8),     the ends of justice served by granting the

continuance outweigh the best interests of the public and the

defendants in a speedy trial.

           WHEREFORE,       it is on this        I    day of March 2010,

           ORDERED that this matter is hereby designated a complex

case;

            IT IS FURTHER ORDERED that the proceedings                in the

above-captioned matter are continued from March 15,                  2010;

            IT IS FURTHER ORDERED that the period between March 15,

2010 and April      15,   2010 shall be excludable in computing time

under the Speedy Trial Act of        1974;

            IT IS FURTHER ORDERED that the defendants shall file

their motions no later than April 15,            2010;   and

            IT IS FURTHER ORDERED that a schedule of proceedings in

this matter shall be set once the defendant’s motions have been

filed.




                                             • STANLEY R.      ER
                                          United States District Judge
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Consented and Agreed to form arid entry by:



Leslie Faye Schwartz,
Assistant U.S. Attorney



Edmund DeNoia, Esq.
Counsel for Michael C.      Sciarra



Arthur Abrams, Esq.   --




Counsel for Peter Veritricelli



Anthony J. Pope, E.
Counsel for  ichael A.      Sciarra

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Gerald D. Miller, Esq.
Counsel for Mark Ventricelli
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                               and entry by:



  Leslie Faye Schwartz,
  Assistant U.S. Attorney



 Edmund DeNoic, Esq.
 Couns 1 for Michael C.     Sciarra



 Arthur Abrams, Esq.
 CounSel for Peter Ventrice
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 Anthony J. Pope, Es.
 Counsel for Michael A. Sci
                            arra



 Gerald D. Miller, Esq.
 Counsel for Mark Ventrice
                           ili
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